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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 ARAB AMERICAN CIVIL RIGHTS
 LEAGUE, et al.,

        Plaintiffs,                        Case No. 2:17-cv-10310-VAR-SDD

 v.                                        Honorable Victoria A. Roberts

 DONALD TRUMP, et al.,                     Mag. J. Stephanie D. Davis

        Defendants.


      BRIEF OF AMICI CURIAE CONSTITUTIONAL LAW PROFESSORS
       IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                        MOTION TO DISMISS

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                 STATEMENT OF THE ISSUES PRESENTED

    1.    How the assertion of an unchecked Executive power in the immigration

          context to justify the Executive Order is informed by the historical legal

          context that demonstrates the dangers of judicial deference to Executive

          immigration actions that discriminate on the basis of nationality and race.

    2.    What the scope of deference to the Executive should be, given the critical

          role of the judiciary in our constitutional system of reviewing and

          checking Executive actions alleged to be unconstitutional or to exceed

          delegated Congressional authority, whether or not those actions relate to

          immigration or national security.

    3.    Whether the claims here are justiciable, given that a variety of other

          challenges to governmental immigration decisions and actions have been

          found to be justiciable, and every other court to examine the Executive

          Order at issue here has reached the merits.

    4.    Whether the congressional delegation of authority to the President under

          Sections 1182(f) and 1185(a) of the Immigration and Nationality Act can

          be read to authorize the President to exercise powers in a manner that

          discriminates unconstitutionally.




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                          INTERESTS OF AMICI CURIAE
        Amici curiae are scholars of constitutional law, federal court jurisdiction, and

  the law of immigration, national security, and citizenship.1 Because of our areas of

  expertise, Amici write to provide an overview of the history and governing legal

  principles of judicial review of Executive Branch decisions related to immigration

  and national security. Given the jurisprudence, Amici believe that this Court should

  reach the merits of the claims that the Executive’s actions were in excess of its

  statutory authority and violated the Constitution.

        Amici are the following scholars2:

        Bruce Ackerman, Sterling Professor of Law and Political Science, Yale Law

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  1
    Amici certify that no party’s counsel authored any part of this brief, and no party
  or person other than Amici or their counsel made any monetary contribution intended
  to fund preparation or submission of this brief. All parties have consented to the
  filing of this amicus curiae brief.
  2
    Institutional affiliations are included for identification purposes only and do not
  represent the views of the institutions.
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        Kristin Collins, Professor of Law and Associate Dean for Intellectual Life,
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                            SUMMARY OF ARGUMENT
        Amici make four points. First, it is essential to evaluate the Executive’s

  assertions of unfettered discretion, plenary power, and non-reviewability of

  decisions related to immigration in the historical context of U.S. immigration law

  and policy. This history demonstrates the harm of excessive deference to Executive

  Branch claims that national security requires the government to target groups based

  on nationality and race. The powerful exemplar is, of course, the evacuation and

  detention of more than 100,000 Japanese-Americans during World War II, to which

  the courts acceded and for which both the Executive and Congress later apologized.

  Since World War II, however, immigration law—as reflected both in legislation and

  in the jurisprudence of the Supreme Court—has evolved to reflect emerging norms

  of racial equality and individual liberty.

        Second, courts have developed and articulated meaningful constraints on the

  immigration authority of the political branches. While Congress and the President

  are entitled to deference on matters related to immigration and national security, they

  have no authority to ignore the Constitution. Animated by concerns relating to

  individual rights, separation-of-powers, and federalism, courts have sought to ensure

  that the political branches do not violate constitutional prohibitions on arbitrary

  decision-making or promote invidious discrimination.




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         Third, Amici explain the role of justiciability doctrines in the development of

  these constraints. Although petitioners in the array of litigated immigration cases

  have not always succeeded in overturning decisions on the merits, courts have

  generally reached the merits rather than rely on justiciability doctrines such as

  ripeness and standing to avoid making decisions. Those merits decisions underscore

  that the refusal to permit entry to individuals affects not only persons outside the

  United States, but also citizen and U.S. resident family members, employers,

  universities, States, localities and the public at large.

         Fourth, when responding to claims related to immigration, courts have

  regularly sought to examine whether, under the doctrine of constitutional avoidance,

  statutes should be read to allow unfettered Executive Branch authority. Even in the

  face of text seeming to constrain judicial review, the courts have shouldered the

  responsibility of ensuring that America’s rule of law applies to actions of American

  officials.

                                       ARGUMENT

  I.     United States Law Once Condoned Immigration Exclusion Based On
         Race And Ethnicity But Has Since Rejected Such Invidious Actions
         No student of United States history can ignore that our Nation’s immigration

  policies once routinely employed notions of racial and cultural inferiority to exclude

  classes of noncitizens as threats to our safety and stability. And when these practices

  were challenged, the government regularly asserted that its authority was

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  unconstrained—or “plenary.” But the lesson to be drawn from this unhappy history

  is the importance of America’s rejection of racial and ethnic restrictions on

  immigration. Just as Congress and the courts were once central in permitting such

  discrimination, so too Congress and the courts have been essential to the revision of

  those practices. Below, we sketch the rise and fall of overt discrimination in

  immigration based on race and ethnicity.

        From the late eighteenth century through World War II, both Congress and

  the courts condoned immigration exclusion based on race and ethnicity. As early as

  the Naturalization Act of 1790, Congress restricted immigrant eligibility for

  citizenship to “free white person[s].” Ch. III, 1 Stat. 103 (1790). Beginning in 1875,

  Congress enacted a series of laws targeting and ultimately prohibiting virtually all

  Chinese immigration. See, e.g., Page Act of 1875, ch. 141, 18 Stat. 477 (1875);

  Chinese Exclusion Act of 1882, ch. 126, 22 Stat. 58 (1882); Act of April 27, 1904,

  ch. 1630, 33 Stat. 428 (1904). Congress asserted that these measures were needed to

  remedy “a standing menace to the social and political institutions of the country.”

  H.R. Rep. No. 45-62, at 3 (1879). In 1917, Congress expanded the scope of

  excludability by creating an “Asiatic Barred Zone,” stretching from Saudi Arabia to

  the Polynesian islands. See Act of February 5, 1917, ch. 29, § 3, 39 Stat. 874, 876

  (1917); see generally HIROSHI MOTOMURA, AMERICANS            IN   WAITING: THE LOST

  STORY OF IMMIGRATION AND CITIZENSHIP IN THE UNITED STATES 103 (2006).

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        The Immigration Act of 1924 went further, barring entry of all immigrants

  unless they were eligible for citizenship, which at that time encompassed only “free

  white persons” and “aliens of African nativity and . . . persons of African descent.”

  See ch. 190, § 13, 43 Stat. 153, 161–62 (1924); H.R. Rep. No. 68-350, at 6 (1924)

  (internal quotation marks omitted). The Act also imposed strict national-origin

  quotas. See § 11, 43 Stat. at 159–60. Again, such measures were characterized as

  necessary to our national survival: “If . . . the principle of individual liberty, guarded

  by a constitutional government created on this continent nearly a century and a half

  ago, is to endure, the basic strain of our population must be maintained . . . .” H.R.

  Rep. No. 68-350, at 13.

        As hostility emerged toward other groups, claims were made that they, too,

  would bring poverty, disease, alcohol, labor competition, and other challenges to

  America’s identity. One Representative claimed that “hordes of undesirable aliens

  . . . [were] undermining [the] health, integrity, and moral fiber of the forthcoming

  generations.” 70 Cong. Rec. 4907 (1929) (statement of Rep. Jed Johnson). Another

  argued the need to stop foreigners from “poisoning the American citizen.” 70 Cong.

  Rec. 3620 (1929) (statement of Rep. William Thomas Fitzgerald). Moreover, gender

  and racial stereotypes interacted, as legislation mandated that American women who

  married noncitizens lost their United States citizenship. Expatriation Act of 1907,

  ch. 2534, § 3, 34 Stat. 1228, 1228–29 (1907).

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        The courts likewise endorsed invidious exclusions through references to the

  “plenary” power of the political branches over immigration. For example, in Chae

  Chan Ping v. United States, a unanimous Court reasoned that in light of the “Oriental

  invasion” posing a “menace to our civilization,” if Congress “considers the presence

  of foreigners of a different race in this country . . . to be dangerous to its peace and

  security, their exclusion is not to be stayed.” 130 U.S. 581, 595, 606 (1889); see also

  United States v. Ju Toy, 198 U.S. 254, 259–60, 263–64 (1905) (denying habeas

  review over exclusion of individual claiming U.S. citizenship); Fong Yue Ting v.

  United States, 149 U.S. 698, 732 (1893) (sustaining expulsion of U.S. resident for

  failing to produce a “white” witness to testify to his lawful presence). Such

  discrimination frequently conflated race with national origin and ethnicity. 3

        Beginning in the middle of the twentieth century, however, both Congress and

  the Supreme Court moved decisively away from these attitudes. In 1943, Congress

  repealed the prohibition on Chinese admissions. See Chinese Exclusion Repeal Act




  3
    Today, the conflation of Muslim and Arab identity and the discrimination against
  “persons who ‘appear Middle Eastern, Arab, or Muslim’” have been well chronicled.
  See generally, e.g., Khaled A. Beydoun, Between Muslim and White: The Legal
  Construction of Arab American Identity, 69 N.Y.U. Ann. Surv. Am. L. 29 (2013);
  Leti Volpp, The Citizen and the Terrorist, 49 UCLA L. Rev. 1575 (2002); IAN
  HANEY-LOPEZ, WHITE BY LAW: THE LEGAL CONSTRUCTION OF RACE 106 (1996);
  see also Guessous v. Fairview Prop. Invs., 828 F.3d 208, 225 (4th Cir. 2016) (noting
  that anti-Muslim animus may constitute “race” discrimination).
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  of 1943, ch. 344, 57 Stat. 600 (1943).4 In 1952, Congress guaranteed that the “right

  of a person to become a naturalized citizen of the United States shall not be denied

  or abridged because of race or sex . . . .” Immigration and Nationality Act, ch. 477,

  § 311, 66 Stat. 163, 239 (1952). Then, in 1965, it finally rejected the premise of

  racialized national exclusivity by abandoning the national-origin immigrant quota

  systems. See Immigration and Nationality Act, Pub. L. No. 89-236, 79 Stat. 911,

  911–12 (1965). Moreover, it specifically provided that with regard to the issuance

  of immigrant visas, “[n]o person shall receive any preference or priority or be

  discriminated against . . . because of his race, sex, nationality, place of birth, or place

  of residence.” Id. at 911.

         Within the judiciary, the insistence on constitutional protections in the

  immigration context initially was uneven. On the one hand, Kwong Hai Chew v.

  Colding rejected the contention that a lawful permanent resident could be excluded

  from the United States without being given notice of the charges justifying his

  exclusion and an opportunity to object. 344 U.S. 590, 603 (1953). On the other hand,

  both U.S. ex rel. Knauff v. Shaughnessy, 338 U.S. 537 (1950), which sustained

  exclusion of a war bride without any hearing, and Shaughnessy v. U.S. ex rel. Mezei,




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   Decades later, both the House and Senate apologized for the government’s policies
  of Chinese exclusion. See H.R. Res. 683, 112th Cong. (2012); S. Res. 201, 112th
  Cong. (2011).
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  345 U.S. 206 (1953), which upheld the exclusion and indefinite detention of a

  returning noncitizen without a hearing, represented steps backwards.

        Subsequent to those Cold War era decisions, however, the Supreme Court—

  while continuing to recognize the need for appropriate deference—retreated from

  the Knauff/Mezei licensing of unfettered government power in immigration

  decisions. See generally Charles D. Weisselberg, The Exclusion and Detention of

  Aliens: Lessons From the Lives of Ellen Knauff and Ignatz Mezei, 143 U. Pa. L. Rev.

  933 (1995). A wealth of scholarship has chronicled this shift in doctrine as due

  process and equal protection norms came to be reflected—albeit with variations—

  in immigration law. See, e.g., Peter H. Schuck, The Transformation of Immigration

  Law, 84 Colum. L. Rev. 1, 4 (1984); Hiroshi Motomura, Immigration Law After a

  Century of Plenary Power: Phantom Constitutional Norms and Statutory

  Interpretation, 100 Yale L.J. 545, 547 (1990); T. Alexander Aleinikoff, Detaining

  Plenary Power: The Meaning and Impact of Zadvydas v. Davis, 16 Geo. Immigr.

  L.J. 365, 365–66 (2002); Gabriel J. Chin, Segregation’s Last Stronghold: Race

  Discrimination and the Constitutional Law of Immigration, 46 UCLA L. Rev. 1, 54–

  58 (1998); Judith Resnik, “Within its Jurisdiction”: Moving Boundaries, People,

  and the Law of Migration, 160 Proc. Am. Phil. Soc’y 117, 133 (2016); Stephen H.

  Legomsky, Immigration Law and the Principle of Plenary Congressional Power,

  1984 Sup. Ct. Rev. 255, 257–58 (1984).

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        The vision of law that supported judicial approval of such discriminatory

  legislation and produced pejoratives such as “‘the yellow peril,’” Oyama v.

  California, 332 U.S. 633, 658–59 (1948) (Murphy, J., concurring), have come to be

  seen as tragic moments in our Nation’s history. As Professor Louis Henkin put it,

  the invidious discrimination sanctioned in Chae Chan Ping had become “an

  embarrassment”; indeed, Chae Chan Ping and cases like it represented “relics of a

  bygone, unproud era.” LOUIS HENKIN, THE AGE OF RIGHTS 137 (1990).

  II.   The Supreme Court Has Recognized Meaningful Limits On The
        Political Branches’ Authority Over Immigration
        Our democratic system obligates the judiciary to constrain any

  unconstitutional excesses of the political branches. See Marbury v. Madison, 5 U.S.

  137, 177 (1803) (“It is emphatically the province and duty of the judicial department

  to say what the law is.”). Notwithstanding the deference afforded to immigration

  regulation by the political branches, the Supreme Court has imposed meaningful

  constraints on legislative and Executive overreach. The Court’s jurisprudence on

  immigration reflects its oversight of both individual constitutional rights as well as

  structural separation-of-powers norms. For example, in Zadvydas v. Davis, 533 U.S.

  678, 695 (2001), rejecting the Executive’s claim of authority to indefinitely detain a

  noncitizen who had been ordered deported but could not be repatriated to another

  country, the Court emphasized that even in the realm of immigration, the political

  branches remain “subject to important constitutional limitations.”
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        Further, the Supreme Court has enforced structural norms designed to protect

  against “arbitrary” immigration decisions by any single branch of government. In

  I.N.S. v. Chadha, 462 U.S. 919 (1983), the Court rejected Congress’s attempt to

  impose a one-house legislative veto over an Executive Branch decision to deport a

  particular alien, emphasizing that the procedural requirements of bicameralism and

  presentment were necessary “to protect the whole people from improvident laws,”

  to ensure that federal policymaking is subject to “full study and debate in separate

  settings,” and to “preclud[e] final arbitrary action of one person.” Id. at 951.

        Similarly, the Court has exercised meaningful review over agencies’

  immigration decisions to protect separation-of-powers norms requiring careful

  deliberation, reasoned decision-making, and non-arbitrariness, just as it has over

  administrative decisions outside of the immigration context. See, e.g., Gillian E.

  Metzger, Ordinary Administrative Law as Constitutional Common Law, 110 Colum.

  L. Rev. 479, 499 (2010). U.S. ex rel. Accardi v. Shaughnessy, 347 U.S. 260 (1954),

  is illustrative. There, the Supreme Court held that the Attorney General deprived a

  noncitizen of a fair hearing on an application for discretionary relief from removal

  when he circulated the alien’s name on a list of “‘unsavory’” characters who should

  be deported. Id. at 264. The Court concluded that, although the Attorney General

  retained ultimate discretionary authority to grant or deny such relief, the Attorney

  General could not circumvent regulatory procedures requiring the Board of

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  Immigration Appeals to first render judgment on such applications. Id. at 267; see

  also I.N.S. v. Cardoza-Fonseca, 480 U.S. 421 (1987) (rejecting Executive’s

  interpretation of statutory term “well-founded fear of persecution” for asylum

  admissions); Negusie v. Holder, 555 U.S. 511, 514 (2009) (rejecting Executive’s

  interpretation of provision disqualifying individuals who were “coerced” into

  persecuting others from eligibility for asylum). In sum, notwithstanding the

  discretion properly recognized in the political branches with respect to many aspects

  of immigration law, the courts remain responsible for ensuring that those powers are

  exercised consistently with constitutional norms.5

        To be sure, when reviewing the merits of immigration decisions, courts have

  sometimes deferred to the Executive’s judgments. In Kleindienst v. Mandel, 408

  U.S. 753, 769–70 (1972), the Court held that the Attorney General’s decision to deny

  a waiver of inadmissibility to an alien would be sustained as long as the government

  provided a “facially legitimate and bona fide reason” for its decision. Subsequent

  courts generally have been unwilling to “look behind” the government’s stated

  justification when the justification itself was facially legitimate and bona fide. See,



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    Further constraints on the political branches’ immigration powers have come from
  the structure of “Our Federalism,” illustrated by decisions applying—in the
  immigration context—the non-commandeering principle of Printz v. United States,
  521 U.S. 898 (1997). See, e.g., Galarza v. Szalczyk, 745 F.3d 634, 643 (3d Cir. 2014)
  (“[T]he federal government cannot command the government agencies of the states
  to imprison persons of interest to federal officials.”).
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  e.g., Kerry v. Din, --- U.S. ---, 135 S. Ct. 2128 (2015) (Kennedy, J., concurring)

  (denial premised on terrorist activity); Am. Acad. of Religion v. Napolitano, 573 F.3d

  115 (2d Cir. 2009) (denial premised on material support for terrorism).

         Such deference, however, does not amount to a judicial rubber stamp. To the

  contrary, courts have shown less deference when the government’s stated

  justifications raised constitutional concerns. For example, in both Abourezk v.

  Reagan, 785 F.2d 1043 (D.C. Cir. 1986), and Allende v. Schultz, 845 F.2d 1111 (1st

  Cir. 1988), the government denied visas to noncitizens based on their affiliation with

  groups deemed hostile to the United States. The Executive cited to its broad statutory

  discretion under 8 U.S.C. § 1182(a)(27), which barred the entry of aliens who “seek

  to enter the United States solely, principally, or incidentally to engage in activities

  which would be prejudicial to the public interest, or endanger the welfare, safety, or

  security of the United States.” While acknowledging Mandel’s standard of

  deference, the First Circuit and the D.C. Circuit interpreted the statute narrowly to

  bar an alien’s entry only if the reason for the threat to public interest, welfare, safety,

  or security was “independent of the fact of membership in or affiliation with the

  proscribed organization.” Abourezk, 785 F.2d at 1058 (emphasis in original); see

  also Allende, 845 F.2d at 1116.

         That approach is consistent with Justice Kennedy’s concurrence in Kerry v.

  Din, which involved the denial of a visa to the spouse of a United States citizen.

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  Justice Kennedy’s opinion—joined by Justice Alito (thereby providing a majority to

  sustain the visa denial)—concluded that the government had provided a “facially

  legitimate and bona fide” reason for its decision based on its individualized

  conclusion that Din’s husband had been involved in terrorist activity. 135 S. Ct. at

  2140. But Din did not involve allegations of invidious discrimination or arbitrary

  classifications, and Justice Kennedy noted that under Mandel, an “affirmative

  showing of bad faith” would require a court to “‘look behind’” the stated reasons for

  a decision. Id. at 2141; see also Bertrand v. Sava, 684 F.2d 204, 212 (2d Cir. 1982)

  (holding that “discretion may not be exercised to discriminate invidiously against a

  particular race or group or to depart without rational explanation from established

  policies,” and that such exercise would fail Mandel’s standard). These cases reflect

  that the government’s reasons must be both “facially legitimate” and “bona fide,”

  and where the government’s stated reasons rely on constitutionally suspect and

  arbitrary classifications, courts will exercise closer scrutiny.

        Pursuant to such scrutiny, courts have sometimes sustained the use of suspect

  or quasi-suspect classifications in immigration decisions. In Fiallo v. Bell, the Court

  sustained a legislative provision denying preferential immigration status based on

  the relationship between an illegitimate child and his or her biological father. 430

  U.S. 787, 794 (1977). And in Rajah v. Mukasey, the Second Circuit upheld the

  special registration program implemented shortly after 9/11 requiring non-

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  immigrant males over the age of 16 from twenty-five countries, all but one of which

  was predominantly Muslim, to appear for registration and fingerprinting and to

  present immigration documents. 544 F.3d 427, 435–39 (2d Cir. 2008).

         But neither race nor ethnicity nor religion is a facially legitimate reason for

  excluding aliens, and national-origin classifications are upheld only in narrow

  circumstances. Indeed, even in Rajah, the court “agree[d] that a selective prosecution

  based on [] animus [toward Muslims] would call for some remedy.” Id. at 438–39

  (finding, however, no evidence of “improper animus toward Muslims”). As Rajah

  demonstrates, while the political branches may sometimes employ disfavored

  classifications to regulate immigration, courts will carefully scrutinize such

  classifications—especially where animus might be at issue.

  III.   Challenges To Immigration Decisions Are Justiciable
         Doctrines of justiciability represent important concerns about when the

  federal judiciary should assess claims of violations of legal rights. The now-classic

  statement of the standing doctrine comes from Justice Scalia’s plurality opinion in

  Lujan v. Defenders of Wildlife: To establish standing, a plaintiff must allege (1) an

  “injury in fact” that is (2) “fairly . . . trace[able] to the challenged action of the

  defendant,” and that is (3) “likely” to be “redressed by a favorable decision.” 504

  U.S. 555, 560–61 (1999) (citations omitted). The injury-in-fact must be both

  concrete and particularized. See Spokeo, Inc. v. Robins, --- U.S. ---, 136 S. Ct. 1540,


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  1545 (2016). This requirement helps ensure that federal courts resolve legal

  problems in a “factual context conducive to a realistic appreciation of the

  consequences of judicial action.” Valley Forge Christian Coll. v. Ams. United for

  Separation of Church & State, Inc., 454 U.S. 464, 472 (1982). However, while

  standing and other justiciability doctrines enshrine important separation-of-powers

  principles, they should not be used to insulate large categories of political branch

  behavior from judicial review. See generally Vicki C. Jackson, Standing and the

  Role of Federal Courts: Triple Error Decisions in Clapper v. Amnesty International

  USA and City of Los Angeles v. Lyons, 23 Wm. & Mary Bill Rts. J. 127 (2014).

        Supreme Court jurisprudence makes clear that even when noncitizens do not

  have a “right” to enter or to remain in the United States, they can be heard on the

  merits of their claims that they were treated unlawfully. See, e.g., Negusie, 555 U.S.

  at 513–15 (discretionary denial of asylum); Cardoza-Fonseca, 480 U.S. at 424–25

  (same); Jean v. Nelson, 472 U.S. 846, 853–54 (1985) (discretionary grants of parole

  for migrants without documents); Accardi, 347 U.S. at 266–68 (discretionary

  suspension of deportation). The Supreme Court has even addressed the merits of

  claims brought by noncitizens outside the United States believed to have engaged in

  terrorism. See Hamdan v. Rumsfeld, 548 U.S. 557 (2006). In each case, the Court

  concluded that while Executive Branch claims based on national security are

  properly entitled to significant deference, that deference is not a “‘blank check.’” Id.

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  at 576–78, 636 (2006) (Breyer, J., concurring) (quoting Hamdi v. Rumsfeld, 542 U.S.

  507, 536 (2004) (plurality opinion)); see also Boumediene v. Bush, 553 U.S. 723,

  771–72 (2008).

        The Court has further found that U.S. citizens and residents have standing to

  challenge denial of a visa to a noncitizen when it implicates their own constitutional

  interests. In Mandel, the Court held that the First Amendment interests of American

  professors who had invited Mandel to speak at their conferences made the case

  justiciable because the professors themselves suffered a constitutionally cognizable

  injury. The lower court explained:

        Here the plaintiffs other than Mandel are directly involved with
        Mandel’s entry because they have invited him, and they expect to
        participate in meeting with him or expect to be among his auditors. No
        more is required to establish their standing. . . . The special relation of
        plaintiffs to Mandel’s projected visit gives them a specificity of interest
        in his admission, reinforced by the general public interest in the
        prevention of any stifling of political utterance, that abundantly satisfies
        ‘standing’ requirements.
  Mandel v. Mitchell, 325 F. Supp. 620, 632 (E.D.N.Y. 1971). Circuit courts have

  followed this approach. See, e.g., Hazama v. Tillerson, 851 F.3d 706, 707 (7th Cir.

  2017) (holding that district court improperly concluded it lacked jurisdiction to

  review visa denial); Am. Acad. of Religion, 573 F.3d at 118 (exercising jurisdiction

  over visa denial).

        In addition, where plaintiffs challenge a policy of visa denials rather than the

  application of a concededly legitimate policy to a particular individual, the case
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  remains justiciable regardless of whether particular individuals have been denied or

  granted a visa pursuant to the policy. For example, in Abourezk, 785 F.2d at 1043,

  the government had denied visas to several groups of noncitizens on the basis of the

  applicants’ membership with organizations or governments hostile to the United

  States. The government argued that there was no live case or controversy because

  the State Department considers each visa application on a case-by-case basis.

  Rejecting that contention, the Court of Appeals concluded that “the reasons for the

  visa denials offered . . . indicate that the prospect of future denials of applications . .

  . is a genuine, and not merely a theoretical, possibility.” Id. at 1052. Similarly, in

  Allende, the court held that the case was not moot even though the applicant had

  ultimately obtained permission to enter:

         Although the specific application of that policy against Allende in
         March 1983 is moot, the validity of that policy in general remains a live
         controversy. And since the existence of the policy continues to effect
         [sic] the actions of the plaintiffs who may reasonably expect that the
         government will oppose future plans to extend speaking invitations to
         Allende, we find the Article III case or controversy requirement
         satisfied.

  845 F.2d at 1115 n.7. In both cases, the government’s general policy of denying visas

  to members of particular organizations rendered the injury sufficiently likely even if

  the policy was not applied uniformly in every case.

         Consistent with these principles, all of the federal courts that have examined

  the January 27 Executive Order addressed the merits, and all but one found that


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  questions of its constitutional infirmity warranted enjoining the Order’s

  enforcement. In Washington v. Trump, 847 F.3d 1151, 1164 (9th Cir. 2017), a

  unanimous Ninth Circuit panel concluded that the State plaintiffs had established

  standing to challenge the Order and were likely to succeed on the merits of their due

  process claims. In Aziz v. Trump, --- F. Supp. 3d ---, No. 1:17-cv-116, 2017 WL

  580855 (E.D. Va. Feb. 13, 2017), a Virginia district court found that the

  Commonwealth of Virginia had standing; a likelihood of success on the merits of its

  Establishment Clause claim in light of the government’s public statements regarding

  its policy; and that evidence of bad faith precluded deference to the government’s

  stated rationale under the “facially legitimate and bona fide reason” standard. But cf.

  Louhghalam v. Trump, --- F. Supp. 3d ---, No. 17-cv-10154, 2017 WL 479779 (D.

  Mass. Feb. 3, 2017) (denying extension of temporary restraining order).

        Likewise, all four district courts considering the legality of the revised March

  6 Executive Order have reached the merits, and three enjoined implementation of

  that Order, finding that it raises the same constitutional concerns as the original

  Order. See Int’l Refugee Assistance Project v. Trump, --- F. Supp. 3d ---, No. 17-cv-

  361, 2017 WL 1018235 (D. Md. Mar. 16, 2017) (finding likelihood of success on

  Establishment Clause claim); Hawaii v. Trump, --- F. Supp. 3d ---, No. 17-cv-50,

  2017 WL 1011673 (D. Haw. Mar. 15, 2017) (same); Doe v. Trump, --- F. Supp. 3d

  ---, No. 17-cv-112, 2017 WL 975996 (W.D. Wis. Mar. 10, 2017) (finding plaintiff’s

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  claims “have at least some chance of prevailing for the reasons articulated by other

  courts” to warrant temporary restraining order). But see Sarsour v. Trump, --- F.

  Supp. 3d ---, No. 1:17-cv-120, 2017 WL 1113305 (E.D. Va. Mar. 24, 2017) (denying

  motion for temporary restraining order). None of these courts refused to consider the

  plaintiffs’ claims on justiciability grounds.

  IV.   Sections 1182(f) And 1185(a), Like Other Statutory Provisions, Must Be
        Construed To Avoid Raising Serious Constitutional Questions
        It is a “cardinal principle” of statutory interpretation that when an Act of

  Congress raises “a serious doubt” as to its constitutionality, the Supreme Court “will

  first ascertain whether a construction of the statute is fairly possible by which the

  question may be avoided.” Zadvydas, 533 U.S. at 689 (internal quotation marks

  omitted). The Supreme Court has repeatedly emphasized that it will “avoid an

  interpretation of a federal statute that engenders constitutional issues if a reasonable

  alternative interpretation poses no constitutional question.” Gomez v. United States,

  490 U.S. 858, 864 (1989). Moreover, statutes in tension with basic constitutional

  values are construed in accord with strong “clear statement” presumptions, requiring

  that—in the absence of explicit language—a statute will not be interpreted to trench

  on those fundamental values. See, e.g., Webster v. Doe, 486 U.S. 592, 603–05

  (1988); Johnson v. Robison, 415 U.S. 361, 373–74 (1974).

        Recognizing that the political branches’ regulation of immigration “is subject

  to important constitutional limitations,” Zadvydas, 533 U.S. at 695, the Supreme
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  Court has repeatedly applied the canon of constitutional avoidance to limit

  immigration provisions that on their face appeared to confer unconstrained authority.

  In I.N.S. v. St. Cyr, 533 U.S. 289, 311 (2001), for instance, the Court rejected the

  government’s claim that a statute providing that “no court shall have jurisdiction to

  review any final order of removal against an alien who is removable by reason of

  having committed” certain crimes precluded judicial review over a habeas challenge.

  Concluding that such a reading would raise serious constitutional questions under

  the Suspension Clause, the Court held that the denial of discretionary relief for a

  removable alien is subject to judicial review. In Zadvydas, too, where the statute

  contained no time limit on the detention of certain aliens, the Court read the statute

  to include an implicit reasonableness limitation and emphasized that “[w]e have read

  significant limitations into other immigration statutes in order to avoid their

  constitutional invalidation.” 533 U.S. at 689.

        Likewise, in Jean v. Nelson, the Supreme Court rejected the Eleventh

  Circuit’s ruling that the Executive Branch may deny parole to arriving aliens on the

  basis of race or national origin notwithstanding Equal Protection guarantees. 472

  U.S. 846 (1985). The Court held that the lower court had erred in failing to employ

  the doctrine of constitutional avoidance. Although Congress had delegated to the

  Executive broad discretion to “parole into the United States temporarily under such

  conditions as he may prescribe . . . any alien applying for admission into the United

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  States,” the Court recognized that such delegation did not authorize decisions on the

  basis of race or national origin. Id. at 855–56.

        Like the provision at issue in Jean v. Nelson, the provisions relied upon by the

  government here—sections 1182(f) and 1185(a)—appear to grant broad discretion

  to the Executive Branch. See 8 U.S.C. § 1182(f); 8 U.S.C. § 1185(a). Just as the

  Supreme Court did in Jean v. Nelson, this Court should read those broad delegations

  of authority in a manner to avoid reaching thorny questions concerning the

  constitutionality of arbitrarily excluding individuals from the United States on the

  basis of race, ethnicity, national origin, or religion. Such a reading is particularly

  warranted in light of Congress’s explicit prohibition against discrimination in section

  1152(a). That provision, part of the Immigration Act of 1965 enacted after sections

  1182(f) and 1185(a), guarantees: “No person shall . . . be discriminated against in

  the issuance of an immigrant visa because of [the person’s] race, sex, nationality,

  place of birth, or place of residence . . . .” Pub. L. No. 89-236, sec. 202, § 2(a), 79

  Stat. 911 (1965) (codified at 8 U.S.C. § 1152(a)). Concededly, section 1152(a) does

  not on its face extend to the issuance of nonimmigrant visas, which were not the

  focus of the Immigration Act of 1965, nor does it prohibit discrimination on the basis

  of religion. Nonetheless, it reflects a congressional and constitutional norm

  disfavoring traditionally suspect classifications. The revised Order is also in tension




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  with the specific statutory criteria for excluding persons believed to be involved in

  terrorist activity. See 8 U.S.C. § 1182(a)(3).6

        Given the seriousness of the constitutional issues raised by the Executive

  Order of March 6, 2017, the canon of constitutional avoidance compels reading

  sections 1182(f) and 1185(a) as complying with the anti-discrimination norms

  enacted by Congress and embedded in the Constitution.

  V.    The Risks Of Undue Deference: A Return To Lessons From History
        Judicial deference to Government assertions of national security threats posed

  by particular nationalities or ethnicities has had tragic results, as exemplified most

  powerfully by the courts’ response to Japanese internment during World War II.

  Korematsu v. United States, 323 U.S. 214 (1944), has rightly become part of an

  “anticanon”—deployed as an example of what United States law no longer accepts

  as constitutional. See Jamal Greene, The Anticanon, 125 Harv. L. Rev. 380, 396,

  456–60 (2011). In Korematsu, the Supreme Court, by a 6-3 vote, deferred to the

  government’s assertion that national security required the detention of over 100,000

  Japanese-Americans based on their ethnicity alone. 323 U.S. at 218–19. A



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    The revised Order is also at odds with this Nation’s leadership role in protecting
  religious freedom in both domestic and international settings. In 1998, Congress
  established an Office of International Religious Freedom in the State Department,
  which prepares Annual Reports on International Religious Freedom. See 22 U.S.C.
  § 6411. This congressional directive is inconsistent with the notion that Congress
  intended to authorize the President to discriminate on the basis of religion.
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  Congressional Commission later concluded that no evidence supported the claim of

  military necessity for internment, and that it was instead the result of “race prejudice,

  war hysteria and a failure of political leadership.” See REPORT OF THE COMM’N ON

  WARTIME RELOCATION AND INTERNMENT OF CIVILIANS, PERSONAL JUSTICE DENIED

  18 (1982). President Ford formally terminated the Order in 1974, calling it a “setback

  to fundamental American principles” and urging the Nation “to resolve that this kind

  of action shall never again be repeated.” Proclamation No. 4417, An American

  Promise, 41 Fed. Reg. 7,741 (Feb. 20, 1976). And in 1984, the district court granting

  Fred Korematsu a writ of coram nobis characterized his case as a “constant caution

  that in times of war or declared military necessity our institutions must be vigilant

  in protecting constitutional guarantees.” Korematsu v. United States, 584 F. Supp.

  1406, 1420 (N.D. Cal. 1984).

        One more aspect of Korematsu bears elaboration. The Court has come to

  invoke the decision for the proposition that strict scrutiny applies to racial

  classifications under the equal protection doctrine. “‘All legal restrictions which

  curtail the civil rights of a single racial group are immediately suspect. That is not to

  say that all such restrictions are unconstitutional. It is to say that courts must subject

  them to the most rigid scrutiny.’” Regents of Univ. of Cal. v. Bakke, 438 U.S. 265,

  291 (1978) (quoting Korematsu, 323 U.S. at 216); see also Fisher v. Univ. of Tex. at

  Austin, --- U.S. ---, 133 S. Ct. 2411, 2422–23 (2013) (Thomas, J., concurring);

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  Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 214 (1995); Loving v. Virginia,

  388 U.S. 1, 11 (1967). As the Court explained in City of Richmond v. J.A. Croson

  Co., “[t]he history of racial classifications in this country suggests that blind judicial

  deference to legislative or executive pronouncements of necessity has no place in

  equal protection analysis.” 488 U.S. 469, 501 (1989) (citing Korematsu, 323 U.S. at

  235–40).

                                     CONCLUSION
        Plaintiffs’ claims regarding the legality and constitutionality of the March 6,

  2017 Executive Order are properly before this Court. Amici respectfully support

  Plaintiffs’ opposition to Defendants’ motion to dismiss their claims.


  Dated: May 23, 2017

                                  Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

        I hereby certify that, pursuant to E.D. Mich. L.R. 5.1, the foregoing brief is

  double-spaced and uses a proportionally spaced, 14-point type size.



  Dated: May 23, 2017                    SIMPSON THACHER & BARTLETT LLP


                                         By      /s/ Abram Ellis
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                            CERTIFICATE OF SERVICE

        I hereby certify that on May 23, 2017, I electronically filed the foregoing

  paper with the Clerk of the Court using the ECF system, which will electronically

  serve all counsel of record.



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